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UNITED STATES DISTRICT COURT
DISTRICT OF MINNESOTA

Max Gray Construction, Inc. and Court File No. 23-CV-01608
Cincinnati Insurance Companies Judge:
Plaintiffs,
V. Stipulation for
Dismissal with
West Bend Mutual Insurance, Louhi & Kivela Prejudice
Masonry, Thomas Breiwick and

AmTrust North America,

Defendants.

The parties to this action stipulate, through their respective attorneys, that all claims by and

between the parties in the above-entitled action may be dismissed with prejudice and without costs to any

party.
Dated: October 10, 2024.

TRIAL GROUP NORTH

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Dated: October 10, 2024.

LP
/

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